          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:09CR13


UNITED STATES OF AMERICA                    )
                                            )
                                            )
            VS.                             )           ORDER
                                            )
                                            )
YVONNE MARIE FOUNTAIN                       )
                                            )


      THIS MATTER is before the Court on Defendant’s petition for a writ

of habeas corpus ad testificandum for co-Defendant Dennis Lamar Bruton

currently in the custody of the United States Marshal at the Buncombe

County Detention Facility.

      Defendant states that Bruton is an essential witness for her defense.

The Court finds that the Defendant has established good cause for the writ

and the petition will be granted.

      The United States Marshal requires, however, that Defendant’s

counsel notify that office as to when Bruton’s appearance will be needed in

order that appropriate arrangements can be made with the Buncombe

County Detention Facility.




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     IT IS, THEREFORE, ORDERED that the Defendant’s petition for a

writ of habeas corpus ad testificandum for Dennis Bruton is hereby

ALLOWED, and the writ is issued herewith.

                                    Signed: July 8, 2009




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